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               IN THE UNITED STATES DISTMCT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


UNITED STATES OF AMERICA
                                              CRIMINAL ACTION FILE
V.

                                              NO. 1:17-CR-249-MHC-LTW
RODERICK MANSON,

      Defendant.



                                      ORDER

      This action comes before the Court on the Final Report and

Recommendation ("R&R") of Magistrate Judge Linda T. Walker [Doc. 76]

recommending that Defendant's Motions to Suppress Evidence [Docs. 43, 54, and


63] be denied and Defendant's Motions to Suppress Statements [Docs. 43,54,and

63] be denied as moot. The Order for Service of the R&R [Doc. 77] provided

notice that, in accordance with 28 U.S.C. § 636(b)(l), the parties were authorized to

file objections within fourteen (14) days of the receipt of that Order. Defendant has

filed his objections to the R&R [Doc. 78] ("Def.'s Objs.").

I. LEGAL STANDARD

      In reviewing a Magistrate Judge's R&R, the district court "shall make a de

novo determination of those portions of the report or specified proposed findings
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or recommendations to which objection is made." 28 U.S.C. § 636(b)(l). Parties

filing objections to a magistrate's report and recommendation must specifically

identify those findings objected to. Frivolous, conclusive, or general objections

need not be considered by the district court." United States v. Schultz, 565 F.3d


1353, 1361 d 1th Cir. 2009) fquoting Marsden v. Moore, 847 F.2d 1536, 1548

(11th Cir. 1988)). If there are no specific objections to factual findings made by

the Magistrate Judge, there is no requirement that those findings be reviewed de


novo. Garvev v. Vaughn, 993 F.2d 776, 779 n.9 (1 1th Cir. 1993) (citations

omitted). Absent objection, the district court judge "may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the magistrate


judge," 28 U.S.C. § 636(b)(l), and may accept the recommendation if it is not

clearly erroneous or contrary to the law. FED. R. CRIM. P. 59(a). In accordance


with 28 U.S.C. § 636(b)(l) and Rule 59 of the Federal Rules of Criminal

Procedure, the Court has conducted a de novo review of those portions of the R&R


to which Defendant objects and has reviewed the remainder of the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).




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II. DISCUSSION

      A. Detention and Arrest of Defendant

      Defendant contends that there was no articulable suspicion to detain him,

which he contends occurred when Officer Dolan pointed a rifle at him while

Defendant was inside a vehicle. Def.'s Objs. at 3-4. Defendant also asserts that


because the officers were not aware Defendant had engaged in any illegal activity

prior to Dolan's approaching the vehicle, the Magistrate Judge erred by finding

that there was reasonable suspicion for a detention or probable cause to support an


arrest. Id. at 2-3. A brief review of the circumstances surrounding Defendant's


detention is necessary to determine when the detention actually occurred and


whether there was reasonable suspicion to detain or probable cause to seize


Defendant.


      One day prior to the incident involving Defendant, Joshua Mauney, a

fugitive investigator employed by the Fayette County Sheriffs office and assigned

to the United States Marshal's Southeastern Regional Fugitive Task Force, was


tasked with apprehending Melvin Gibson, a gang member who was wanted by

Douglas County on a probation violation. Tr. of Sept. 5, 2018, Suppression Hr'g


[Doc. 58] ("Tr.") at 5-6, 30. Mauney surveilled the Sierra Ridge Apartments,

located in a "high-crime area" where the gang was known to operate, and observed
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Gibson exiting an apartment, getting into a white vehicle, and driving away. Id. at

6-7.



        The next day, April 14, 2017, Mauney and other task force officers,

including United States Marshals, went to the apartment in unmarked cars for the


purpose of arresting Gibson. Id. at 8, 32. The officers were all wearing police

vests clearly marked as law enforcement. Id. at 8-9, 32. Because earlier


surveillance revealed people coming and going from the back door of the

apartment and involved in suspected narcotics activity, Officer Timothy Dolan,


another task force member, proceeded to the back of the residence with other task


force members. Id. at 7-8, 31-33.


        As Officer Dolan and other task force members pulled up to the rear


containment area, they observed a black male wearing a red shirt at the driver's


side of a white vehicle. I(L at 33. Dolan testified that "[n]ormally that would not

cause alarm; however, we had information that Gibson was in a white vehicle prior


to that." Id. The African-American male, upon seeing the officers exit their


vehicles and identifying themselves as police, "began to abruptly move away" in


the direction ofGibson's apartment. Id at 33, 35. Several officers yelled at the


man to get on the ground and he complied with the officers' request. Id. at 35.
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      Dolan then "focused [his] attention on the white vehicle and the occupant in

the driver's seat," later identified as Defendant, to make sure who was in the


vehicle and that all occupants were safe.1 Id. at 35-36. Defendant made visual eye


contact with Dolan and began to roll up his window, and continued to roll up the

window despite Dolan asking him not to do so. Id. at 36-37. After Defendant

rolled up the window, Dolan proceeded to the driver's side window, pointed his

long rifle with an attached flashlight into the driver's side, and instructed

Defendant to roll down the window and let Dolan see his hands. Id. at 37.


Defendant refused. Id. Dolan was able to look inside the flashlit interior of the car

and saw a "baseball-sized amount of white powder" on Defendant's lap. Id. at 3 7-


38. Based upon Dolan's experience and training, he believed the substance to be


powdered cocaine. Id. at 3 8.


      Dolan then commanded the occupants of the vehicle to roll down the

windows and "let me see your hands." IcL at 40. Defendant "originally had his


hands up for a split second, and then moved his right hand down to the right side of

his right leg in between the driver's side seat and the center console." Id. Dolan


was concerned that Defendant could be reaching for a firearm. IcL at 41. Dolan




 Aside from Defendant, there were two other African-American males in the
vehicle. Tr. 38.
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concentrated his weapon on Defendant and told him "numerous times" not to do it


and to slowly raise his hands. Id. Defendant then finally raised his hands, Dolan

asked him to slowly open the door or window, and Defendant put his hands back

down, with his right hand in the same spot between the driver's side seat and the

center console. Id. at 42. Dolan then testified as follows: "I told him don't do it, I


was going to shoot him in the face if he did it. I told him don't do it again, to raise

his hand very slowly so I could see what's in his hands. I must have said it two or


three times, and he finally raised his hand with no firearm in it." Id. at 43.

      Once all of the occupants had exited the vehicle, a bag of cocaine and a

black Glock handgun could be seen on the floorboard of the driver's seat. Id. at


43-44. A Sig Sauer black handgun was also found under the front passenger seat,


and a third large black handgun was found in the area where Defendant had been

reaching. Id. at 46-47.


      This Court agrees with the Magistrate Judge that, between the time of

Officer Dolan's approach of the vehicle and the time Defendant finally complied

with Dolan's instructions to raise his hands and exit the vehicle, Defendant was not


seized but there was reasonable suspicion to justify his detention. R&R at 9-15. It

is well-settled that probable cause is not necessary under the Fourth Amendment to


conduct an investigatory stop. The police "may, consistent with the Fourth


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Amendment, conduct a brief, investigatory stop when the officer has a reasonable,


articulable suspicion that criminal activity is afoot." Illinois v. Wardlow, 528 U.S.

119, 123 (2000); see also Terry v. Ohio, 392 U.S. 1, 30-31 (1968). To determine

whether reasonable suspicion exists, the court "must look at the 'totality of the


circumstances' of each case to see whether the detaining officer has a


'particularized and objective basis' for suspecting legal wrongdoing." United

States v. Arvisu, 534 U.S. 266, 273 (2002). Examining the totality of the

circumstances "allows officers to draw on their own experience and specialized


training to make inferences from and deductions about the cumulative information


available to them that might well elude an untrained person." Id. (quotation and

citation omitted). The Court will give due weight to an officer's experience and

expertise when evaluating reasonable suspicion. Omelas v. United States, 517


U.S. 690, 699 (1996); see also United States v. Chanthasouxat, 342 F.3d 1271,

1276 (11th Cir. 2000) ("[gjreat deference is given to the judgment of trained law

enforcement officers on the scene.") (internal quotation marks and citation


omitted).

      In this case, when Officer Dolan approached the vehicle where Defendant

was sitting in the driver's seat and asked Defendant not to roll up his window,


there was no requirement for any reasonable suspicion prior to this non-coercive


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interaction. See Craig v. Singletary, 127 F.3d 1030, 1041 (llth Cir. 1997)

(explaining that a police officer may approach a suspect and engage in a

consensual encounter without the need for reasonable suspicion). Regardless of


the lack of need for reasonable suspicion to approach the vehicle, there was in fact


reasonable suspicion to conduct an investigatory stop in this case. Prior to


observing the white vehicle with an African-American male near the driver's


window at the rear of the apartment, the task force was aware that there was


possible narcotics activity at the site and that an African-American male previously

was observed inside a white vehicle at the same location. Dolan then observed the


African-American male attempt to abmptly move away from the vehicle once he


saw law enforcement officers. Dolan had reasonable suspicion to conduct an


investigatory stop at that point even thought none was needed.


      The next action undertaken by Dolan occurred after Dolan asked Defendant

not to roll up his window and Defendant refused. Dolan then pointed his long rifle

with an attached flashlight into the driver's side and instructed Defendant to roll

down the window and let Dolan see his hands. As the Magistrate Judge found, at


this point. Defendant was not "free to leave," but because Defendant refused to


comply with Dolan's instruction, he was not yet seized. R&R at 10-12. Once


again, based on the prior day's activity and observations at the apartment, the fact
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that the incident occurred in a "high-crime area," and the additional fact that

Defendant refused to comply with Dolan's instructions, there was reasonable


suspicion that criminal activity may be afoot, justifying Dolan's detention of

Defendant. By the time Defendant finally complied with Dolan's instruction to

raise his hands and exit the vehicle, Dolan has probable cause to arrest Defendant

because he observed in plain view (looking through the car's flash lit window)

what appeared to be powdered cocaine in Defendant's lap. Consequently,


Defendant's initial detention and eventual arrest were supported by reasonable


suspicion and probable cause, respectively, and his objections are OVERRULED.

      B. Search of the Automobile


      Defendant additionally objects that the observation of the cocaine in plain

view cannot be justified because Dolan's initial conduct in pointing the rifle at

Defendant lacked probable cause. Def.'s Objs. at 5. However, as previously


discussed, Dolan had reasonable suspicion to detain Defendant at the time the

cocaine was observed in plain view from outside the vehicle. Once the cocaine


was observed in plain view, the officers could lawfully search the car without a


warrant. "Under the automobile exception [to the general warrant requirement],


police officers may conduct a warrantless search of a vehicle if the vehicle is
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readily mobile and if they have probable cause to believe that the vehicle contains

contraband." United States v. Carter, 481 F. App'x 475, 477 (llth Cir. 2012)


(citing Pennsylvania v. Labron, 518 U.S. 938, 940 (1996) (per curiam)).

      Once again, prior to the search of the vehicle, Dolan observed one African-


American male try to abmptly move away from the side of a vehicle that may have

been involved in dmg activity a day earlier. Defendant ignoring instructions to roll

down his window and put his hands up, and a white substance appearing to be

cocaine on Defendant's lap. This justified the search of the vehicle without a

warrant in accordance with the automobile exception. Defendant's objection to the


Magistrate Judge's findings concerning the search are OVERRULED.

III. CONCLUSION

      Accordingly, after a de novo review of those portions of the R&R to which

Defendant objects, the Court OVERRULES his objections [Doc. 78]. Finding no

clear error in the remaining portions of the R&R, the Court ADOPTS the R&R

[Doc. 76] as the Opinion and Order of the Court.

      It is hereby ORDERED that Defendant's Motions to Suppress Evidence

[Docs. 43, 54, and 63] are DENIED and Defendant's Motions to Suppress

Statements [Docs. 43, 54, and 63] are DENIED AS MOOT.




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      It is further ORDERED that the time between the date the Magistrate Judge

certified Defendant ready for trial on February 7, 2019, and the issuance of this

Order, shall be excluded in calculating the date on which the trial of this case must

commence under the Speedy Trial Act because the Court finds that the delay is for

good cause, and the interests of justice in considering Defendant's objections to the

Report and Recommendation outweigh the right of the public and the right of the

Defendant to a speedy trial, pursuant to 18 U.S.C. § 3161, et seq.


      IT IS SO ORDERED this 14th day of March, 2019.




                                       MARKH.COHEN
                                       United States District Judge




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